             Case 23-90731 Document 497 Filed in TXSB on 10/11/23 Page 1 of 2
                                                                                                     United States Bankruptcy Court
                                                                                                         Southern District of Texas

                                                                                                            ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                            October 11, 2023
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                                  )
    In re:                                                        )   Chapter 11
                                                                  )
    SURGALIGN HOLDINGS, INC., et al.1                             )   Case No. 23-90731 (CML)
                                                                  )
    Debtors.                                                      )   (Jointly Administered)
                                                                  )   Re: Docket No. 452

                           ORDER EXTENDING THE TIME WITHIN
                         WHICH THE DEBTORS MAY REMOVE ACTIONS

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) extending the time period within

which the Debtors may remove actions pursuant to 28 U.S.C. § 1452 and Bankruptcy Rule 9027,

all as more fully set forth in the Motion; and this Court having jurisdiction over this matter pursuant

to 28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b), and that this Court may enter a final order consistent with Article III of the

United States Constitution; and this Court having found that venue of this proceeding and the

Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having

found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion were

appropriate and no other notice need be provided, except as set forth herein; and this Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at


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      The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
      number (if any), are: Surgalign Holdings, Inc. (0607); Surgalign Spine Technologies, Inc. (6543); Pioneer
      Surgical Technology NewCo Inc.; Spinal Transition and Professional Services LLC; Andi’s Belmarall, LLC;
      Fourth Dimension Spine, LLC (1107); Holo Surgical Inc. (4079); and HoloSurgical Technology Inc. (0952). The
      location of the debtors’ service address in these chapter 11 cases is: 520 Lake Cook Road, Suite 315, Deerfield,
      Illinois 60015.
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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Motion.
        Case 23-90731 Document 497 Filed in TXSB on 10/11/23 Page 2 of 2




a hearing (if any) before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing (if any) establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The period within which the Debtors may seek removal of the Actions pursuant to

28 U.S.C. § 1452 and Bankruptcy Rule 9027 is extended through and including November 16,

2023, without prejudice to (i) any position the Debtors may take regarding whether section 362 of

the Bankruptcy Code applies to stay Actions involving the Debtors or (ii) the right of the Debtors,

their estates or successors, or the plan administrator established pursuant to the Debtors’ chapter

11 plan, to seek further extensions of the Removal Period.

       2.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       3.      This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

       4.      Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion.

       5.      The Debtors are authorized to execute and deliver such documents and to take and

perform all actions necessary to implement and effectuate the relief granted in this Order.



Houston, Texas
Dated: _________, 2023
          August11,
         October 02,2023
                     2019
                                              ____________________________________
                                              CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE



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